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                   IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

STACY L. RANDALL,

                       Plaintiff,

       v.
                                                               Civil Action No. 22-cv-400
REED C. WIDEN, MICHAEL KIESLER,
WIDEN ENTERPRISES, LLC, and
WINDY WATERS, INC.,

                       Defendants.


           REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO
        STRIKE PLAINTIFF’S PRAYER FOR RELIEF SEEKING RESCISSION


               Since Plaintiff Stacy Randall and Defendant Windy Waters, Inc. entered into the

Stock Redemption Agreement and Promissory Note on May 13, 2020, Randall has received and

accepted, without objection, 37 monthly payments of $16,430.09, totaling $607,913.33, under

those documents. Randall, having thus ratified the agreements and waived her right to seek

rescission, cannot now claim those same agreements are null and void. Randall’s response to the

motion to strike is premised on the incorrect position that Section 29(a) of the Securities Exchange

Act of 1934, 15 U.S.C. § 78cc, renders the release in the Stock Redemption Agreement (and

therefore the entire agreement) void ab initio. It does not, and federal law does not preclude

application of ratification and waiver doctrines to bar Randall’s rescission claim. Besides arguing

federal law nullifies the doctrines, Randall does not address the common law principles of waiver

and ratification head on. She focuses instead on the separate tender-back prerequisite to filing a

suit for rescission, which is not the premise of the motion to strike. The reason the Court should

strike Randall’s rescission request is simple: A party cannot continuously receive and accept
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payments under a contract with knowledge of alleged fraud and then later seek rescission of that

very contract. Even Randall acknowledges that these arguments are “superficially appealing.” ECF

No. 36 at 2. The defendants’ motion to strike (ECF No. 31) should be granted.

I.         THE MOTION TO STRIKE IS RIPE.

                    As a preliminary matter, this motion is ripe and should be addressed on the merits.

Randall agrees that addressing the issue of whether Randall may seek rescission at this stage serves

the interests of judicial economy. ECF No. 36 at 7. Randall does not dispute any of the facts

supporting the motion to strike, all of which are either explicitly stated in or implied by the

allegations in the complaint. It is undisputed that Randall received, accepted, and did not deny or

return the payments contemplated by the Stock Redemption Agreement and the related Promissory

Note attached to the complaint. The issue is therefore ripe for consideration and ruling.1

II.        THE EXCHANGE ACT DOES NOT NULLIFY THE AGREEMENTS OR CREATE
           AN EXCEPTION TO BASIC COMMON LAW DOCTRINES.

                    For three key reasons, the Exchange Act does not give Randall license to have her

cake and eat it too. First, the Act prohibits prospective waivers of rights, not standard releases like

the one in the Stock Redemption Agreement, so it does not render the release void or voidable.

Second, the release is severable from the rest of the Stock Redemption Agreement, so Randall’s

focus on the release is misplaced. Third, cases applying the Act explain that fraud in the

inducement does not render a transaction subject to the Act void. As a result, common law

rescission principles and the related doctrines of ratification and waiver apply.

                    First, the Stock Redemption Agreement does not violate 15 U.S.C. § 78cc as a

matter of law. Randall’s argument is premised squarely on the mutual release found in section 5

of the Stock Redemption Agreement, which she contends is a waiver of compliance with the


1
    If the Court prefers the issue be addressed on summary judgment instead, Defendants will be prepared to do so.

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Exchange Act and therefore violates the Act. ECF No. 36 at 7–9. That is not correct.

               A release of existing claims is perfectly allowable under the Exchange Act—it is

only waivers of future compliance with the Act that are prohibited. The statute disallows provisions

that bind “any person to waive compliance with” the Exchange Act. 15 U.S.C. § 78cc(a). For

example, this provision rendered unenforceable a corporate bylaw that required cases to be filed

in state court because the provision waived compliance with the mandatory jurisdictional provision

in the Exchange Act. Seafarers Pension Plan ex rel. Boeing Co. v. Bradway, 23 F.4th 714, 720

(7th Cir. 2022). In contrast, releases of claims arising from past conduct are permissible. See, e.g.,

Goodman v. Epstein, 582 F.2d 388, 399 (7th Cir. 1978).

               In Goodman, the Seventh Circuit addressed the validity of a release found in an

amendment to a limited partnership agreement that was executed to formalize the withdrawal of

one of the partners. Id. at 394. One issue on appeal was whether the release was valid under 15

U.S.C. § 78cc(a). Id. at 395–96. The parties agreed that the statute does not invalidate releases of

mature, ripened claims, but differed on whether that included only claims actually known to the

parties or also included claims the releasing party should have known after reasonable inquiry. Id.

at 402–03. In deciding which of the “two apparently competing philosophies” was correct, the

Seventh Circuit explained that “the defendants’ theory which admittedly places some duty of

inquiry on the party signing the release, is the more readily acceptable as fulfilling the policy

requirements of the federal securities laws and needs of judicial economy.” Id. at 403. The court

further explained:

               The mere fact that an individual has been asked to sign a release
               should be sufficient to put that individual on notice that a reasonable
               inquiry should be undertaken. . . .

                       ....



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                         The requirement that a person exercise reasonable inquiry to
                discover possible matured claims existing at the time of execution
                of a waiver does nothing to defeat the general policy against the In
                futuro waiver of securities claims. Quite to the contrary, it insures
                that the signing of a waiver is something that will not be undertaken
                lightly.

Id. at 404 (citation omitted). In short, only waivers of future violations of law can be avoided under

the Exchange Act. See id.; Korn v. Franchard Corp., 388 F. Supp. 1326, 1330 (S.D.N.Y. 1975).

(“I conclude that Section 29(a) does not nullify, as a matter of law, all settlements of claims arising

from acts violating the Securities Exchange Act of 1934, but only those which condone continuing

violations of federal law or anticipatorily waive the right to commence litigation arising out of

future violations.”).

                Even the cases Randall relies upon follow this same rule. For example, one case

Randall cites states as follows: “Not all releases, however, are void. . . . Only those releases

attempting anticipatory waivers of compliance with the securities laws are void.” Jadoff v.

Gleason, 140 F.R.D. 330, 333–34 (M.D.N.C. 1991) (finding implicit waiver through

acknowledgement of receipt of information void). In another, a court interpreting a parallel

provision in the 1933 Securities Act held that a “general release, purporting to settle an already

ripened controversy, is not by its terms void as a matter of law.” Cohen v. Tenney Corp., 318 F.

Supp. 280, 284 (S.D.N.Y. 1970).

                Under Wisconsin law, unless a release explicitly states otherwise, it only serves to

extinguish matured, ripe claims. The Wisconsin Supreme Court has held as follows:

                A release ordinarily operates on the matters expressed therein which
                are already in existence at the time of giving the release.
                Accordingly, demands originating at the time a release is given or
                subsequently, and demands subsequently maturing or accruing, are
                not as a rule discharged by the release unless expressly embraced
                therein or falling within the fair import of the terms employed.



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Rensink v. Wallenfang, 8 Wis. 2d 206, 214, 99 N.W.2d 196 (1959) (quoting 76 C.J.S. Release

§ 53). That is, under Wisconsin law, a release does not waive anything related to future conduct

unless it explicitly says so.

                Here, the release in the Stock Redemption Agreement does not purport to waive

any future conduct or future compliance with securities laws. It does not discuss future claims or

future conduct at all. It is an ordinary release that serves only to extinguish mature claims that were

in existence as of the time of signing the Stock Redemption Agreement on May 13, 2020. The

release is therefore perfectly valid under the Exchange Act and is not void or voidable.

                Second, Randall’s reliance on an argument that the release is void under the

Exchange Act misses the point. Even if the Court were to entertain the notion that the release in

the Stock Redemption Agreement is void under the Exchange Act, the release is severable from

the rest of the agreement. Section 7.d. of the Stock Redemption Agreement makes any illegal,

invalid, or unenforceable provision severable, while retaining the balance of the agreement “in full

force and effect and shall not be affected by the illegal, invalid, or unenforceable provision or by

its severance from [the] Agreement.” Stock Redemption Agreement ¶ 7.d., ECF No. 1-6; Widen

Decl. Ex. A, ECF No. 33-1. Whether or not the mutual release in the Stock Redemption Agreement

is valid is beside the point. Randall is seeking to rescind the entire contract and undo the entire

transaction to undo the sale of her stock. There is no basis to allege that the key provisions to

effectuate that transfer are void ab initio under the Exchange Act.

                Third, alleged fraud does not make a contract void ab initio, not even if the contract

is subject to the Exchange Act. A contract induced by fraud is voidable (not void). E.g., First Nat’l

Bank & Tr. Co. of Racine v. Notte, 97 Wis. 2d 207, 209, 293 N.W.2d 530 (1980). One court

applying 15 U.S.C. § 78cc explained that this rule applies even to contracts about securities:



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               [A]n agreement induced by fraud in violation of the securities acts
               is not ipso facto void, neither under s 29(b) nor by virtue of the
               “illegalities” in the formation of the contract. Since such a contract
               may be either affirmed or avoided by the innocent party, that party
               faces the same choice under the securities acts when he learns of the
               fraud as he faces under the common law. If he wishes to avoid the
               contract, the steps he must take to preserve his rescission remedy are
               the same as at common law. Similarly, conduct that affirms a
               fraudulently induced contract under general contract law principles,
               such as acceptance of benefits under the contract or exercise of acts
               of ownership over the property, will terminate the injured party's
               power to avoid the contract on illegality grounds, where the only
               illegality is violation of the antifraud provisions of the securities
               laws.

Gannett Co. v. Reg. Pub. Co., 428 F. Supp. 818, 831 (D. Conn. 1977) (footnote omitted).

               As another court explained, “Courts have construed Section 29(b) to render any

contract made in violation of the Exchange Act ‘voidable’ at the option of the wronged party. An

agreement to purchase securities that is induced by fraud is, under § 29(b), voidable at the will of

the defrauded party.” Kidder Peabody & Co. v. Unigestion Int’l, Ltd., 903 F. Supp. 479, 498

(S.D.N.Y. 1995) (citations omitted).

               One reason for this rule is that voiding agreements where the allegedly wronged

party does not seek such relief or is not entitled to rescission could have the effect of invalidating

agreements in circumstances that cause more harm than good. See, e.g., Mills v. Elec. Auto-Lite

Co., 396 U.S. 375, 387 (1970). “The interests of the victim are sufficiently protected by giving

him the right to rescind.” Id. at 388. An entirely void agreement, in contrast, is a legal nullity and

void as to everybody, not just an injured party, as Randall herself notes. ECF No. 36 at 9 (citing

17A Am. Jur. 2d Contracts § 9; Oubre v. Entergy Operations, Inc., 522 U.S. 422, 432 (1998)

(Breyer, J., concurring)). For all these reasons, agreements concerning securities are only voidable,

not void, if they are induced by fraud, and the party seeking to avoid the contract must follow the

same common law principles as any other party seeking rescission of any other kind of contract.


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               Whether under Wisconsin common law, as the choice of law in the Stock

Redemption Agreement, or federal common law, the result should be the same. As the volume and

variety of cases cited in Defendants’ opening brief shows, the principles of ratification and waiver

of the right to rescission after a party continues to accept the benefits of a contract are recognized

in state and federal courts across the country. There is no reason federal common law would differ,

and Randall cites no cases applying federal common law that apply different rules.

III.   OTHER FEDERAL LAWS GOVERNING RELEASES ARE INAPPOSITE.

               Citing a handful of cases applying different federal statutes in different contexts,

Randall makes the bold argument in section III of her response brief that the mere fact that she has

claims under the Exchange Act means the doctrines of ratification and waiver do not apply. This

novel argument is unsupported by case law and without merit for several reasons.

               First and foremost, Randall does not cite any authority on point. Apparently, no

court anywhere has ever held that contracts relating to exchanges of securities are exempt from

common law principles. The only case known to Defendants addressing the issue squarely held

the exact opposite. In Gannett, the court applied the doctrine of ratification to bar a party’s request

for the remedy of rescission for its claims under the Exchange Act. 428 F. Supp. at 831. The court

concluded common law principles applied just like to any other contract: “If he wishes to avoid

the contract, the steps he must take to preserve his rescission remedy are the same as at common

law.” Id. The only case law on point, therefore, holds that common law principles, including

ratification and waiver of the right to seek rescission, apply even to contracts subject to the

Exchange Act. This Court should hold the same.

               Second, other than the Supreme Court cases, the cases Randall cites are not binding,

further limiting their persuasive authority. One case explicitly disagrees with Seventh Circuit

precedent holding common law principles related to rescission apply to claims under federal law.

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McClellan v. Midwest Machining, Inc., 900 F.3d 297, 308 (6th Cir. 2018). Another notes

conflicting authority on applying ratification to releases of claims under federal statutes. Jakimas

v. Hoffmann-La Roche, Inc., 485 F.3d 770, 784 (3d Cir. 2007) (“We recognize that other courts

have applied the common law doctrine of ratification to ERISA claims.”). Others are simply non-

binding and unpersuasive out-of-circuit cases that do not involve the Exchange Act. Botefur v. City

of Eagle Point, 7 F.3d 152, 156 (9th Cir. 1993); GunBroker.com, LLC v. Tenor Cap. Partners,

LLC, No. 1:20-CV-613-TWT, 2021 WL 5113200, at *9 (N.D. Ga. Nov. 3, 2021). In fact, the only

Seventh Circuit case cited by Randall that analyzes whether to apply common law principles to

federal statutory claims holds that common law applies. Fleming v. U.S. Postal Service AMF

O’Hare, 27 F.3d 259, 260 (7th Cir. 1994) (holding the common law concept of tender-back was

“not a peculiarity of Illinois law; it is a general principle of contract law, and would surely be a

component of any federal common law of releases”).

               Third, several of the cases Randall cites discuss only the tender-back requirement

for rescission claims, not ratification and waiver. E.g., McClellan, 900 F.3d at 308; Botefur, 7 F.3d

at 156. As discussed in the next section of this brief, these are distinct concepts, and only the latter

forms the basis of the motion to strike.

                Finally, most of the cases involve federal statutes that explicitly create requirements

for valid releases, unlike the Exchange Act, and the courts find ratification would undermine the

statutory release requirements themselves. In particular, in Oubre, the Court focused on the “strict,

unqualified statutory stricture on waivers” in the OWBPA, including a mandatory time period for

a party to review the release and consider options, a mandatory time period during which the

employee could change her mind, and a requirement that the release reference ADEA claims

specifically. 522 U.S. at 424–25, 427. The Court explained that allowing ratification conflicted



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with the statute’s text. Id. at 427 (“The statute creates a series of prerequisites for knowing and

voluntary waivers and imposes affirmative duties of disclosure and waiting periods. . . . The text

of the OWBPA forecloses the employer’s defense, notwithstanding how general contract

principles would apply to non-ADEA claims.”). It was this inability to overrule explicit

Congressional directives that formed the basis of the ruling—not generic policy arguments about

remedial statutes, as Randall contends.

               The short per curiam decision in Hogue seems heavily influenced by the fact that

the employer filed a “Memorandum Confessing Error” in the Supreme Court that conceded

applicable law did not require a plaintiff to tender back payments before filing a claim for

rescission. Hogue v. S. R. Co., 390 U.S. 516, 516 (1968). The case also did not address ratification

or waiver, ruling only that Federal Employers’ Liability Act jurisprudence does not require tender

back before an injured employee may sue an employer despite a release. See id. at 517–18.

               In sum, there is no authority holding that the mere fact that a claim is brought under

the Exchange Act means common law contract principles do not apply. The cases Randall cites all

revolve around challenges to releases, discuss different statutes, are inapplicable, and in most

cases, are not binding authority. The Exchange Act does not include any specific requirements for

releases and does not regulate them like the OWBPA and other statutory regimes do. The apples-

to-oranges comparison is unpersuasive. The Exchange Act does not offer an exception to

ratification and waiver of the right to rescind.

IV.    COMMON LAW WAIVER AND RATIFICATION PRINCIPLES PRECLUDE
       RANDALL’S REQUEST FOR RESCISSION.

               The well-established common law principles of waiver and ratification form the

heart of Defendants’ motion to strike. Rather than addressing those principles head on, Randall’s

response instead focuses on the common law concept of tendering back—a requirement that a


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party seeking rescission of a contract (typically a release) tender back consideration received for

that contract. Arguably, the requirement that a party seeking rescission tender back the

consideration also supports a dismissal of Randall’s request for rescission, and as Randall

acknowledges, some courts have treated the tender-back requirement as a precondition to filing

suit. Other courts prefer to address the issue when considering damages.

               Certainly, if Randall’s rescission claims are not dismissed and if she were to be

awarded damages, she would be required to credit any amounts that were already paid to her under

the contract, as she acknowledges, ECF No. 36 at 20. That can be resolved if and when damages

are determined. Randall’s speculation that rescinding the agreements would necessarily result in

payment to her is premature and unsupported. But that is beside the point, because the tender-back

doctrine is not the basis of the motion to strike. Rather, Randall’s request for rescission should be

stricken because, after acquiring knowledge of the facts she contends support her fraud claims,

and even after filing suit for fraud, Randall has continued to accept payments, each month, that

she would only be entitled to receive under the very agreements she seeks to rescind. A party

cannot accept payments under a contract for years, thus acknowledging the contract’s validity, and

at the same time seek a ruling that the contract is void and subject to rescission, thereby asserting

its invalidity. “A party’s right to rescind for fraud or mistake is waived if he . . . affirms the

agreement after learning of the fraud or mistake giving rise to the right of rescission.” Thompson

v. Village of Hales Corners, 115 Wis. 2d 289, 319, 340 N.W.2d 704 (1983); see also Grube v.

Daun, 213 Wis. 2d 533, 551, 570 N.W.2d 851 (1997). A tender back at this stage is, quite simply,

too late. Ratification and waiver have already occurred.

               Nowhere in Randall’s response does she dispute the proposition that a party who

accepts the benefits from a contract ratifies it and cannot seek rescission, nor does she challenge



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its application to this case to bar her rescission claims outside of the discussion involving the

Exchange Act. Randall argues against application of the tender-back precondition to rescission

discussed by Randall, but that is a distinct concept. Indeed, one court applying the ratification

doctrine explicitly confirmed it was not basing its decision on a pre-suit tender-back requirement,

but ratification alone:

                       The court does not hold that Seward, prior to initiating this
                suit, was obligated to tender back to GMC the supplemental
                retirement benefits which he received. Rather, the court holds that
                Seward, to avoid ratification of the Release, was obligated to tender
                back or refuse the benefits he received after he became aware of the
                alleged fraud and duress he now raises as a defense to the Release.

Seward v. B.O.C. Div. of Gen. Motors Corp., 805 F. Supp. 623, 34 (N.D. Ill. 1992).

                Randall relies on cases and Restatement illustrations involving fact patterns missing

an essential element—they involve discovery of fraud after the benefits were accepted, not the

other way around. These sources are not on point because they do not address the impact of

accepting contractual benefits after discovery of fraud. For example, in the only Wisconsin case

Randall cites to support her common law arguments, the plaintiff accepted a payment at the time

a contract was made, discovered fraud thereafter, and then later sued. Bowe v. Gage, 127 Wis. 245,

245, 106 N.W. 1074 (1906). The issue decided by the court was whether the suit could be

maintained even though the plaintiff did not first tender back the payment received at the time the

contract was made. Id. at 250. It did not involve the acceptance of contract benefits after discovery

of fraud or after suing for rescission. Similarly, the Restatement illustrations Randall cites in

support of her position also involve only benefits accepted before discovery of alleged fraud, so

are inapposite to the issue of ratification and waiver—and they certainly are not “precisely” the




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situation in this case, as Randall contends, ECF No. 36 at 17.2 Here, in contrast, Randall accepted

payments for years after discovering the facts that she contends support her fraud claims.

                  The same is true of the Fleming case cited by Randall—it involves only the question

of whether a party can rescind a contract without returning consideration. 27 F.3d at 260. It did

not involve the receipt of contractual benefits after the discovery of fraud, so it has no bearing on

whether Randall ratified the Stock Redemption Agreement or waived her right to rescind.

                  Where the right to seek rescission has been waived and the contract has been

ratified, subsequent tender back is too little and too late. “When a party to a contract discovers an

alleged fraud, however, it has two choices: ‘affirm the contract and sue for damages, or . . .

disaffirm and seek restitution.’ If a party elects to affirm the contract, he may not later on disaffirm

it and ask for rescission.” AVL Powertrain Eng’g, Inc. v. Fairbanks Morse Engine, 178 F. Supp. 3d

765, 772 (W.D. Wis. 2016) (citations omitted). As one early case explained, a party wishing to

avoid a contract must “at once announce his purpose” and if he continues accepting the benefit of

the contract, waiver has occurred and he “will be as conclusively bound by the contract as if no

fraud or mistake had occurred. He is not permitted to play fast and loose. Delay and vacillation are

fatal to the right which had before subsisted.” Hunt v. Hardwick & Co., 68 Ga. 100, 104 (1881).

Another case held that an offer to return consideration after a motion to dismiss a rescission request

was filed was too late, explaining as follows:

                           This offer is simply too little, too late. . . .

                           ....

                         Even if Grillet’s tender-back offer had been sufficient, it
                  came too late. . . . To avoid ratifying the release through her conduct,

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  Illustration 17 to Restatement (First) of Restitution § 65, relied upon by Randall, is also not “precisely” the same
situation for another reason: Windy Waters did not sell Randall’s shares after purchasing them from her. Rather, about
a year and a half after Randall sold her shares back to Windy Waters, Windy Waters sold its subsidiary, Widen
Enterprises. See Compl. ¶¶ 143, 149.

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               Grillet should have returned the consideration soon after she learned
               that some younger employees in her department had not been
               terminated. Instead, she kept the benefits of the release for two years
               after she discovered the alleged misrepresentation. It is simply too
               late for Grillet to avoid ratification.

Grillet v. Sears, Roebuck & Co., 927 F.2d 217, 220–21 (5th Cir. 1991), overruled on other grounds

by Digital Equip. Corp. v. Desktop Direct, Inc., 511 U.S. 863 (1994).

               Last, Randall attempts to downplay the authority on ratification and waiver by

arguing they are limited to cases involving “bargained-for releases of claims.” ECF No. 36 at 19.

Though cases involving releases and settlement agreements are relevant, even excluding the cases

addressing settlement agreements, the doctrines of ratification and waiver are supported by many

cases in many other contexts. Defendants’ opening brief cited to numerous cases discussing

ratification or waiver outside of the settlement agreement context, including the following cases:

           o Grube, 213 Wis. 2d at 551 (holding that plaintiffs could not rescind the sale of a
             parcel of land because plaintiffs affirmed the contract by living on and making
             improvements to the land despite the contamination they alleged supported
             rescission claim)
           o AVL Powertrain Eng’g, 178 F. Supp. 3d at 772 (holding that plaintiff could not
             rescind a master agreement governing large engine testing because plaintiff, by
             operating pursuant to the terms of the agreement until the defendant stopped
             performing, affirmed the contract and waived its right to rescission)
           o ESPN, Inc. v. Off. of the Comm’r of Baseball, 76 F. Supp. 2d 383, 392 (S.D.N.Y.
             1999) (holding that rescission of a telecasting agreement was unavailable after
             MLB continued to perform and accept performance under the agreement for more
             than a year after grounds for rescission arose)
           o Tankstar USA, Inc. v. Navistar, Inc., No. 2017AP1907, 2018 WL 6199278, at *6
             (Wis. Ct. App. Nov. 27, 2018) (unpublished decision) (holding that rescission of
             vehicle purchase contracts was unavailable because the plaintiff, by selling the
             vehicles and filing the action seeking contract-based damages, affirmed the
             contracts)

               In the following additional cases, ratification or waiver was found outside of the

settlement agreement context:




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              o Ajamian v. Schlanger, 89 A.2d 702, 703–04 (N.J. Super. Ct. App. Div. 1952)
                (holding that a buyer could not rescind a contract for the sale of an embroidery
                factory because after discovering the fraud, the buyer affirmed the contract by
                making monthly payments on the purchase price and continuing to pay rent and
                make improvements to the factory, noting that “once made, this election [to affirm
                the contract] is irrevocable”)
              o Dennis v. Jones, 14 A. 913, 914–15 (N.J. 1888) (holding that a buyer could not
                rescind a contract for the sale of a skating rink where the buyer, upon discovering
                the fraud, continued to make mortgage payments and run the skating rink
                business, which constituted “plenary evidence of an election to abide by their
                contract” that was “irrevocable”)
              o Markowicz v. SWEPI LP, 940 F. Supp. 2d 222, 228–31 (M.D. Pa. 2013) (holding
                that a non-signing cotenant of a mineral lease waived his right to rescind the lease
                because he failed to take affirmative steps to disavow the lease and effectively
                accepted the benefits of the lease when he transferred rental checks to the other
                cotenant that were dispensed pursuant to the lease terms)
              o Gannett, 428 F. Supp. at 824–26 (holding that a buyer of a newspaper company
                waived its right to rescind a purchase agreement because after discovery of the
                fraud, buyer’s conduct evidenced an intent to affirm the contract)

                 This is not an exhaustive list. The well-accepted waiver and ratification doctrines

apply to contracts of every type, not just settlement agreements. Randall’s attempts to cabin this

doctrine into the narrower context of cases involving settlement agreements fails.

                 The point of the ratification and waiver doctrines is not damages, offsets, or how

much money which party owes to which party. Rather, the point is that a party who has enjoyed

and accepted the benefits of a contract for many months after learning of facts that would allow

for rescission cannot later seek to rescind that agreement. Randall does not dispute (because she

cannot) that she accepted $607,913.33 in monthly payments since she and Windy Waters entered

into the Stock Redemption Agreement and Promissory Note on May 13, 2020. Of those 37

payments, 21 were accepted after Randall learned of the alleged fraud, 19 after threatening to sue,

and 11 after filing suit. This constituted ratification of the contract and a waiver of any right to

rescind the documents contract. Anything less would unfairly allow Randall to have her cake and

eat it too.

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                                         CONCLUSION

               It is undisputed that Randall accepted monthly payments of $16,430.09 under the

Stock Redemption Agreement and the related Promissory Note, including for nearly two years

after first asserting the transaction was the product of fraud. To attempt to avoid this ratification

of the documents and waiver of the ability to rescind them, Randall deflects with legal arguments

that are without merit. The common law doctrines of waiver and ratification that underpin the

motion to strike apply and bar Randall’s rescission claims, even those based on the Exchange Act.

For all the reasons stated in this brief and defendants’ opening brief, the defendants’ Motion to

Strike Plaintiff’s Prayer for Relief Seeking Rescission should be granted and the Court should

strike paragraphs B and O in the prayer for relief section of the complaint.

               Dated this 4th day of August 2023.

                                              Respectfully submitted,


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